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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


AMY BENDER,                             )
                                        )
       Plaintiff,                       )
                                        )            CIVIL ACTION NO.
       v.                               )              2:19cv271-MHT
                                        )                   (WO)
HILTON DOMESTIC OPERATING               )
COMPANY INC.,                           )
                                        )
       Defendant.                       )

                                   ORDER

       During the status conference on October 29, 2020,

the    plaintiff      clarified     her       complaint      by     dismissing

counts 3 and 4 and explaining that she is seeking to

hold     the   defendant        liable       under    only     a    theory    of

“direct liability.”          In light of these developments and

other representations made on the record during this

status conference, the court believes it has a better

understanding        of   the    most       efficient    way       to   proceed.

       Accordingly, it is ORDERED that:

       (1)     The     plaintiff’s           unopposed         request       for
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additional discovery under Rule 56(d), as contained in

her response to the motion for summary judgment (doc.

no. 26), is granted.                    The plaintiff will have until

December       28,        2020,    to    complete      the    two   previously

scheduled depositions.

       (2) No later than January 8, 2021, counsel for all

parties shall conduct a settlement conference at which

counsel        shall         engage       in        good-faith      settlement

negotiations.             If settlement cannot be reached, counsel

shall also discuss whether mediation will assist the

parties       in    reaching       settlement.        Not    more   than    seven

days after this conference, counsel for the plaintiff

shall        file     a     pleading        titled     “Notice      Concerning

Settlement Conference and Mediation.”                           This pleading

shall indicate whether settlement was reached and, if

not,    whether           the     parties      believe       mediation      or   a

settlement          conference      with      the    presiding      judge    will

assist them in resolving this case short of trial.

       (3)    The    defendant’s         motion      for     summary   judgment


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(doc. no. 21) is denied without prejudice, given the

numerous developments in the case since it was filed.

By no later than January 22, 2021, the defendant may

refile in light of the plaintiff’s clarification of the

complaint, accounting for any new evidence introduced

during the additional period of discovery.

    (4)   The    pretrial     conference,      currently      set      for

October 29, 2020, is continued to February 17, 2021, at

9:30 a.m., and the trial, currently set for the term of

court starting on December 7, 2020, is continued to the

term of court beginning on April 12, 2021, at 10:00

a.m., with all deadlines explicitly tied to these dates

adjusted accordingly.        The parties shall either submit

a revised proposed pretrial order in advance of the new

pretrial conference date or notify the court that their

original proposed pretrial order is still accurate.

    DONE, this the 2nd day of November, 2020.

                            /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE



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